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   7                            UNITED STATES DISTRICT COURT
   8                         SOUTHERN DISTRICT OF CALIFORNIA
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  10    EBS AUTOMOTIVE SERVICES; ABF                              CASE NO. 09-CV-996 JLS (MDD)
        TECHNOLOGIES, INC.,
  11                                                              ORDER: GRANTING JOINT
                                             Plaintiffs,          MOTION TO DISMISS
  12           vs.
                                                                  (ECF No. 218)
  13    ILLINOIS TOOL WORKS, INC., DBA
        WYNN OIL COMPANY DBA WYNN’S
  14    USA,
  15                                       Defendant.
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  17          Presently before the Court is the parties’ joint motion to dismiss this action pursuant to a
  18   settlement agreement. (ECF No. 218.) Having considered the parties’ joint motion, and good
  19   cause appearing, the Court orders as follows:
  20          1. The Court shall retain jurisdiction to enforce the terms of the settlement agreement.
  21          2. Subject to the Court’s retention of jurisdiction to enforce the terms of the settlement
  22          agreement, the entire action, including all claims and counterclaims, SHALL BE
  23          DISMISSED WITH PREJUDICE.
  24   IT IS SO ORDERED.
  25   DATED: February 1, 2012
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                                               Honorable Janis L. Sammartino
  27                                           United States District Judge

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